 1   Kyle A. Kinney, Esq. [Bar No. 027189]
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 2   1717 N. 77th Street, Suite 6
     Scottsdale, AZ 85257
 3   Phone: [480]269-7077
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 4   Email: kyle@kinneylaw.net
 5   Attorney for Debtors;
 6   RONALD AND ARLENE SILVER

 7                     IN THE UNITED STATES BANKRUPTCY COURT
 8                             FOR THE DISTRICT OF ARIZONA
 9
     In Re:                                             Chapter 11
10
     RONALD AND ARLENE SILVER, husband                  Case No. 2:17-bk-07624-SHG
11   and wife,
12                                                      NOTICE OF LODGING ORDER
                                 Debtors.               SETTING CLAIMS BAR DATE
13
14            NOTICE IS HEREBY GIVEN that the Debtors have lodged an Order setting a

15   claims bar date in the form attached hereto.

16            DATED this 6th day of November 2018.
17
18                                                   Law Offices of Kyle A. Kinney, PLLC:

19
20                                                   By:/s/ Kyle A. Kinney
                                                         Kyle A. Kinney (027189)
21                                                       1717 N. 77th Street, Suite 6
                                                         Scottsdale, AZ 85257
22                                                       kyle@kinneylaw.net
23                                                       Attorney for Debtors

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     This is to certify that the foregoing was
 1   e-filed on this 6th day of November 2018, in the
     United States Bankruptcy Court,
 2   COPY of the foregoing served via electronic
     Notification that same date on:
 3
     Office of the U.S. Trustee
 4   230 North First Avenue, Suite 204                   Lori L. Winkelman
     Phoenix, AZ 85003-1706                              Amelia B. Valenzuela
 5                                                       Quarles & Brady LLP
     RENEE SANDLER SHAMBLIN                              Renaissance One
 6   Office of the U. S. Trustee                         Two North Central Avenue
     230 North First Avenue, Suite 204                   Phoenix, Arizona 85004-2391
 7   Phoenix, AZ 85003-1706                              lori.winkelman@quarles.com
                                                         amelia.valenzuela@quarles.com
 8   Kim Lepore                                          Attorneys for Capital One, NA as servicer
     klepore@wrightlegal.net                             forGreenpoint Mortgage Funding, Inc.
 9   Jamin S. Neil (SBN 026655)
     jneil@wrightlegal.net
10   WRIGHT, FINLAY & ZAK, LLP                           Joseph J. Tirello, Jr., Esq.
     16427 N. Scottsdale Road, Suite 300                 ZIEVE, BRODNAX & STEELE, LLP
11   Scottsdale, Arizona 85254                           3550 North Central Avenue, Suite 625
     Attorneys for Nissan                                Phoenix, AZ 85012
12                                                       E-mail: Jtirello@zbslaw.com
     ALDRIDGE PITE, LLP                                  Attorneys for U.S. Bank National Association,
13   ecfazb@aldridgepite.com                             as Trustee for Lehman Brothers Small Balance
     4375 Jutland Drive, Suite 200
14   P.O. Box 17933                                      Commercial Mortgage Pass-Through
     San Diego, CA 92177-0933                            Certificates,
15   Attorneys for Ocwen Loan Servicing                  Series 2007-3
16                                                       GERMAINE LAW OFFICE, PLC
17                                                       Sanford Germaine, Esq.
                                                         4040 E. Camelback Road, Suite 110
18                                                       Phoenix, AZ 85018
19                                                       Attorney for Lee & Associates

20   By:/s/ Paula D. Hillock

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 7                          UNITED STATES BANKRUPTCY COURT
 8                                    DISTRICT OF ARIZONA
 9   In re:                                          Chapter 11 Proceedings
10   RONALD AND ARLENE SILVER,                       Case No. 2:17-bk-07624-SHG
11   husband and wife,
                                                      ORDER SETTING AND NOTICE OF:
12                         Debtor(s).                 DEADLINE FOR FILING PROOF OF
13                                                               CLAIM

14   TO:      ALL CREDITORS AND OTHER PARTIES IN INTEREST:

15            Upon consideration of Ronald and Arlene Silver’s (the “Debtor” and/or “Debtors”)

16   request that the Court set a deadline for creditors to assert claims against the Debtor or the

17   estate, the Court finding that a claims bar date will speed the administration of the Debtor’s

18   bankruptcy case, and other good cause appearing;

19            IT IS ORDERED AND NOTICE IS HEREBY GIVEN THAT:

20            1.    PROOF OF CLAIM BAR DATE: The Court has set January 16, 2019,

21   as the deadline for non-governmental creditors to file proof of claims if they desire to

22   share in any distribution in this bankruptcy case. The deadline for governmental units to

23   file proof of claims, other than for claims resulting from a tax return filed under 11 U.S.C.

24   §1308, is the later of the above noted bar date or 180 days after the order for relief. The

25   deadline for governmental units to file proof of claims resulting from a tax return filed

26   under 11 U.S.C. §1308, is the later of the above noted bar date, 180 days after the order

27   for relief or 60 days after the filing of the tax return.

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     Order Setting Claims Bar Date                                                         Page 1
 1          2.     HOW TO PREPARE AND FILE A PROOF OF CLAIM: Information
 2   regarding how to file a proof of claim, and file a proof of claim form (Bankruptcy Form
 3   B 410), can be found on the Court’s website at http://www.azb.uscourts.gov/proof-claim-
 4   form-and-instructions. To be timely filed, the proof of claim must be received by the
 5   Clerk of Court, (230 N. First Ave., Suite 101, Phoenix, Arizona 85003), on or before the
 6   deadline set by the Court.
 7          3.     CREDITORS NEEDING TO FILE CLAIMS: The Debtor has filed with
 8   the Court its schedules of assets and liabilities (“Schedules”). The Schedules contain lists
 9   of creditors, the Debtor’s statement as to the type and amount of each of their claims, and
10   whether the Debtor believes each claim is disputed, contingent or unliquidated.
11                 A.      Unscheduled Creditors: Any creditor whose claim is not listed in
12          the Schedules must file a proof of claim to share in any distribution in this case.
13                 B.      Scheduled     Creditors     listed   as   disputed,   contingent     or
14          unliquidated: Any creditor whose claim is listed in the Schedules as disputed,
15          contingent or unliquidated must file a proof of claim or its claim will be
16          disallowed.
17                 C.      Other Scheduled Creditors: Any creditor holding a claim that is
18          listed in the Schedules that is not listed as disputed, contingent or unliquidated, but
19          in an amount with which the creditor disagrees must file a proof of claim to share
20          in any distribution in this case. Failure to file a proof of claim will be deemed the
21          creditor’s consent to the Debtor’s statement as to the type and amount of the claim.
22          4.     SERVICE OF THIS ORDER: The Debtor shall (i) serve a copy of this
23   Order on all creditors and interested parties not later than seven (7) days after entry and
24   (ii) file an affidavit of service within seven (7) days of such service.
25                                               DATED AND SIGNED ABOVE.
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     Order Setting Claims Bar Date                                                         Page 2
